Case 1:18-cv-01940-LTB Document 6 Filed 08/08/18 USDC Colorado Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


Civil Action No. 18-cv-01940-LTB

JASON BROOKS,

      Applicant,

v.

MATTHEW HANSON, Warden, Sterling Correctional Facility, and
THE ATTORNEY GENERAL OF THE STATE OF COLORADO,

      Respondents.


                                      JUDGMENT


      Pursuant to and in accordance with the Order of Dismissal entered by Lewis T.

Babcock, Senior District Judge, on August 8, 2018, it is hereby

      ORDERED that Judgment is entered in favor of Respondents and against

Applicant.

      DATED at Denver, Colorado, this 8 day of August, 2018.

                                        FOR THE COURT,

                                        JEFFREY P. COLWELL, Clerk

                                        By: s/ A. Garcia Garcia
                                               Deputy Clerk
